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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF RHODE ISLAND

 JOHN DOE,
                           Plaintiff,

 v.                                                      C.A. NO. 17-191-JJM-LDA

 BROWN UNIVERSITY,
                Defendant.


  DEFENDANT’S MOTION TO STRIKE PLAINTIFF’S FUTURE DAMAGES CLAIM
 THROUGH THE YEAR 2060 AND EXCLUDE THE TESTIMONY OF LEE E. MILLER

            Defendant Brown University (“Brown”) moves to strike Plaintiff’s demand for future

 damages through the year 2060 and exclude the proffered testimony of Lee E. Miller in support of

 the claim for four decades of damages reduced to present value figures.

            Plaintiff, age 25, graduated from Brown in May 2018 with an academic concentration in

 Theater and Performing Arts. After graduation, Plaintiff moved to Los Angeles to pursue a career

 in the entertainment industry, currently working for a major entertainment talent agency. He has

 also sought to establish a career in professional lacrosse. Yet, while he has been actively

 considering and pursuing several different career paths since his graduation, Plaintiff claims that

 Brown must pay him at least $1.2 million and up to $1.9 million for alleged future lost earnings

 through the year 2060, spanning his anticipated work life through his expected retirement at age

 65. Simply put, Plaintiff wants an unjustified and substantial financial windfall from Brown.

            To proffer his speculative and specious future damages claim, Plaintiff intends to present

 expert testimony from Lee E. Miller. Mr. Miller spent total time in this litigation equating to about

 one business day of work, including a less than two-hour meeting with Plaintiff. Yet, Mr. Miller

 purports to be able to project with reasonable certainty (1) what Plaintiff’s entire work life career

 will be over the next forty years and (2) what it would have been through 2060 if Plaintiff had not


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 changed his mind six years ago during his freshman year about his intended academic

 concentration at Brown. Mr. Miller’s proffered testimony fails to meet the basic requirements of

 relevance and reliability to support its admissibility.

            Brown has filed a memorandum in support of its motion, with its exhibits A-K thereto

 placed under seal.

                                    REQUEST FOR HEARING

            Under Local Rule Cv. 7(c), Brown requests a hearing on this motion.      Brown has

 concurrently moved for summary judgment regarding the remaining counts in Plaintiff’s Second

 Amended Complaint. Brown estimates that the hearing will entail about one hour of the Court’s

 schedule.

                                                BROWN UNIVERSITY

                                                By Its Attorneys,

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 Dated: January 31, 2020

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                                   CERTIFICATE OF SERVICE


        I certify that, on the 31st day of January, 2020, I served a copy of this motion via the
 Court’s CM/ECF system.

                                               /s/ Steven M. Richard




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